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                    IN THE UNITED STATES BANKRUPTCY COURT
                         FOR THE DISTRICT OF DELAWARE

 In re:                                      )
                                             )   Chapter 11
 BIG LOTS, INC., et al.,                     )
                                             )   Bankruptcy Case No. 24-11967(JKS)
             Debtors.                        )
                                             )   (Jointly Administered)

                MOTION AND ORDER FOR ADMISSION PRO HAC VICE

       Pursuant to Local Rule 9010-1 and the attached certification, counsel moves the
admission pro hac vice of Harrison A. Pavlasek of Forshey & Prostok, LLP to represent Walnut
Creek Plaza, LLC in these cases.

Dated: November 7, 2024                       /s/ Susan E. Kaufman
                                              Susan E. Kaufman (DSB # 3381)
                                              919 N. Market Street, Suite 460
                                              Wilmington, DE 19801
                                              Tel: (302) 472-7420 /Fax: (302) 792-7420
                                              Email: skaufman@skaufmanlaw.com

           CERTIFICATION BY COUNSEL TO BE ADMITTED PRO HAC VICE

        Pursuant to Local Rule 9010-1(b), I certify that I am eligible for admission to this
Court, am admitted, practicing, and a member in good standing of the Bar of the State of Texas
and submit to the disciplinary jurisdiction of this Court for any alleged misconduct that occurs
in the preparation or course of this action. I also certify that I am generally familiar with this
Court’s Local Rules and with the Standing Order for District Court Fund revised 12/21/23. I
further certify that the fee of $50.00 has been paid to the Clerk of Court for the District Court.

Dated: November 7, 2024                       /s/ Harrison A. Pavlasek
                                              Harrison A. Pavlasek
                                              TX State Bar No. 24126906
                                              FORSHEY & PROSTOK, LLP
                                              777 Main St., Suite 1550
                                              Fort Worth, TX 76102
                                              Telephone: (817) 877-8855 / Fax: (817) 877-4151
                                              hpavlasek@forsheyprostok.com

                              ORDER GRANTING MOTION

          IT IS HEREBY ORDERED counsel’s motion for admission pro hac vice is granted.
